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              Exhibit C
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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


  OKLAHOMA FIREFIGHTERS PENSION
  AND RETIREMENT SYSTEM,                             No. 1:22-cv-03026-ALC-GWG

                         Plaintiff,
                  v.                                 Honorable Gabriel W. Gorenstein

  ELON R. MUSK, ELON MUSK
  REVOCABLE TRUST DATED JULY 22,
  2003, EXCESSION LLC, AND JARED
  BIRCHALL,

                         Defendants.


            DECLARATION OF SALVATORE J. GRAZIANO IN SUPPORT OF
            MOTION TO APPROVE CONFLICT SCREENING PROCEDURES

       I, Salvatore J. Graziano, declare pursuant to 28 U.S.C. § 1746:

       1.      I am a member in good standing of the bars of the State of New York and of this

Court. I am a partner in the law firm of Bernstein Litowitz Berger & Grossmann LLP (“BLB&G”

or the “Firm”). I submit this declaration in support of Lead Plaintiff’s Motion to Approve Conflict

Screening Procedures.

       2.      On February 6, 2025, Jorge Tenreiro contacted two of my partners, Katherine M.

Sinderson and James A. Harrod. I understand from speaking with Ms. Sinderson and Mr. Harrod

that they discussed with Mr. Tenreiro what it was like to work at BLB&G generally and their

respective experience at the Firm.

       3.      On February 21, 2025, my partner John Rizio-Hamilton met with Mr. Tenreiro in

person. I understand from Mr. Rizio-Hamilton that he and Mr. Tenreiro discussed generally his

experience at the SEC, his legal background and qualifications, his career aspirations, and the
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Firm’s work generally. At the end of that conversation, they discussed the possibility of Mr.

Tenreiro interviewing at the firm for a partner position.

       4.      On March 5, 2025, Mr. Rizio-Hamilton and I met with Mr. Tenreiro in person and

interviewed him. We discussed generally his experience at the SEC, his legal background and

qualifications, his career aspirations, and the Firm’s work generally.

       5.      On March 5 and 7, Mr. Tenreiro met with other partners at BLB&G, including

Hannah Ross, Jeroen van Kwawegen, and Jerry Silk. I understand from speaking with those

individuals that they discussed with Mr. Tenreiro his legal experience, background and

qualifications, his career aspirations, and the Firm’s work generally.

       6.      Based on my personal involvement in meeting with Mr. Tenreiro, as well as my

discussions with each of my partners at BLB&G who met him, my understanding is that at no time

during Mr. Tenreiro’s meetings at BLB&G did anyone discuss the lawsuit captioned SEC v. Musk,

No. 25-cv-00105 (D.D.C.) (“SEC v. Musk”) (or the SEC’s investigation prior to filing that action)

or the lawsuit captioned Oklahoma Firefighters Pension and Retirement System v. Elon R. Musk,

Elon Musk Revocable Trust Dated July 22, 2003, Excession, LLC, and Jared Birchall, No. 1:22-

cv-03026-ALC-GWG (“Okla. Firefighters v. Musk” or this “Action”).

       7.      Mr. Rizio-Hamilton and myself informed Mr. Tenreiro that any offer to join

BLB&G would be contingent on (1) Mr. Tenreiro’s agreement not to participate in any way in the

representation of any BLB&G client adverse to any defendant in any case in which BLB&G

worked as counsel and in which non-public information acquired while Mr. Tenreiro was an SEC

employee could be used to the material disadvantage of any defendant; and (2) either the

defendant(s)’ or the relevant court’s approval of a conflict screening procedure that would preclude

Mr. Tenreiro’s participation in any case in which BLB&G worked as counsel and in which non-



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public information acquired while Mr. Tenreiro was an SEC employee could be used to the

material disadvantage of any defendant. To facilitate Mr. Tenreiro’s consideration of this request,

Mr. Rizio-Hamilton sent Mr. Tenreiro a list of all active BLB&G cases, including this Action.

       8.      In response, Mr. Tenreiro identified certain cases where he had some limited

involvement in an SEC action that potentially related to a defendant in a case involving BLB&G,

including this Action. As relevant to this Action, we discussed only the existence of this Action

and the fact that Mr. Tenreiro had some limited involvement in SEC v. Musk—but did not discuss

the substance of either of this Action or SEC v. Musk.

       9.      BLB&G reached out to counsel for the relevant defendants in the other actions

noted by Mr. Tenreiro. Nearly all of the defendants in those cases either agreed to waive any

potential conflicts or agreed not to object if BLB&G were to hire Mr. Tenreiro, including based

on BLB&G’s conflict screening procedures. Defense counsel in two of those cases are consulting

with their clients and have not reverted with their position yet.

       10.     On March 19, 2025, Mr. Rizio-Hamilton and myself consulted with a professional

legal ethics expert, Professor Bruce Green.

       11.     With respect to this Action, on March 19, 2025, I informed Jesse Bernstein, counsel

for Defendants in this Action and a partner at Quinn Emanuel Urquhart & Sullivan, that BLB&G

was interested in potentially hiring Mr. Tenreiro subject to the considerations outlined above. I

asked if Defendants in this Action would consent.

       12.     On March 26, 2025, Jesse Bernstein informed me by email that his firm had “not

been able to get consents from our clients.”

       13.     On April 1, 2025, BLB&G partner Jeremy Robinson emailed Mr. Bernstein to inter

alia request a meet and confer concerning this Motion and the relief sought herein. On April 3,



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2025, my partners and I spoke by phone with Mr. Bernstein—who said he would respond with his

clients’ position on the relief requested in the Motion.

       14.     On April 21, 2025, Mr. Bernstein informed us that Defendants in this Action would

oppose the relief sought in this Motion.

       15.     I have re-reviewed the New York Rules of Professional Conduct, including Rule

1.11 (“Special Conflicts of Interest for Former and Current Government Officers and

Employees”).

       16.     In consultation with Professor Bruce Green, BLB&G has developed a set of

screening procedures that it will implement with respect to Mr. Tenreiro if he is ultimately

employed at BLB&G. Those screening procedures will include:

                   a. Bar Mr. Tenreiro from working on any engagements, assignments,
                      matters, or service performed by BLB&G in connection with Musk;

                   b. Prohibit Mr. Tenreiro from having any discussions concerning Musk
                      with any BLB&G personnel;

                   c. Deny Mr. Tenreiro access to all documents and computer-stored
                      information to Musk;

                   d. Bar all BLB&G personnel from providing Mr. Tenreiro with
                      information relating to Musk;

                   e. Bar all BLB&G personnel from asking, directly or indirectly, for
                      any confidential or privileged information from Mr. Tenreiro, and
                      prohibit all BLB&G personnel—including Musk team members—
                      from discussing Musk in Mr. Tenreiro’s presence, including from
                      casual discussion or routine status updates;

                   f. Before Mr. Tenreiro joins BLB&G, BLB&G will notify all BLB&G
                      personnel that no one is permitted to discuss or exchange emails
                      with Mr. Tenreiro regarding Musk;

                   g. BLB&G has informed Mr. Tenreiro that if he joins the firm, he must
                      not provide any confidential or privileged information pertaining to
                      Musk to any Firm personnel; and




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                   h. BLB&G has provided written notice to the SEC of its desire to hire
                      Mr. Tenreiro and the ethical screening procedures it would
                      implement if permitted to do so.

      17.    Further, I confirm that Mr. Tenreiro will not be apportioned any part of any fee that

may be received by BLB&G in connection with this Action.

      18.    I declare, under penalty of perjury, that the foregoing is true and correct to the best

of my knowledge.

      Executed this 22nd day of April 2025.




                                                    Salvatore J. Graziano




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